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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                      NO. 4:07cr00387-003 SWW

PAUL ANTHONY HEACOX



                                    ORDER

       Defendant appeared for a hearing before this Court on September 29,

2008, and entered a guilty plea at which time, counsel for the defendant

requested that the defendant be allowed to remain on bond for thirty days

to allow defendant to resolve his business affairs.           There being no

objection by the government, the Court found that there are exceptional

circumstances, pursuant to 18 U.S.C. 3145, to allow defendant to remain

on    conditions of release and that such conditions should be modified.

       IT IS THEREFORE ORDERED that defendant’s conditions of release shall

be modified to include a special condition of home detention with

electronic monitoring.    The cost of such monitoring shall be paid by the

United States Probation Office.

       IT IS FURTHER ORDERED that defendant shall surrender to the United

States Marshal in Little Rock, Arkansas, by noon on October 27, 2008, to

be detained pending sentencing in this matter.

      DATED this 29th day of September, 2008.



                                            /s/Susan Webber Wright

                                            UNITED STATES DISTRICT JUDGE
